      Case: 3:20-cr-00065-MJN Doc #: 22 Filed: 01/12/21 Page: 1 of 1 PAGEID #: 138




                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,

         Plaintiff,                                  Case No. 3:20-cr-65

vs.

CHRISTOPHER JAMES CURRY,                             District Judge Michael J. Newman

      Defendant.
______________________________________________________________________________

           ORDER STRIKING DEFENDANT’S PRO SE FILING (DOC. 21)
______________________________________________________________________________

         This criminal case is before the Court on a document submitted to the Court by Defendant,

which purports to be a pro se motion. Doc. 21. Defendant, however, is represented by counsel in

this case and is not proceeding pro se. Defendant has no right to proceed both pro se and with the

assistance of counsel. United States v. Mosely, 810 F.2d 93, 97–98 (6th Cir. 1987). Accordingly,

the Court STRIKES Defendant’s submission and will not consider any arguments advanced

therein unless and until those arguments are presented in a motion filed by counsel.

         IT IS SO ORDERED.



Date:    January 11, 2021                            s/ Michael J. Newman
                                                     Michael J. Newman
                                                     United States District Judge
